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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


In re:                                                          Case No.: 3:22-bk-01926-JAB
                                                                Chapter 11
ALL FLORIDA SAFETY INSTITUTE, LLC
          Debtor.



DEBTOR’S NOTICE OF FILING TAX RETURN AND FINANCIAL STATEMENTS IN
                 COMPLIANCE WITH 11 U.S.C. § 1116(1)

         In accordance with 11 U.S.C. §1116(1), the Debtor files the following documents:

         1.     2021 Tax Return;

         2.     Latest balance sheet, statement of operations and cash-flow statement.



                                                     Law Offices of Mickler & Mickler, LLP

                                                     By:_/s/ Bryan K. Mickler_____________
                                                        Bryan K. Mickler
                                                     Florida Bar No. 091790
                                                     Attorney for Debtor in Possession
                                                     5452 Arlington Expressway
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                                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was furnished to the United States
Trustee and all interested parties by filing a copy in the Court’s CM/ECF system this _22__ day
of September, 2022.


                                                              _/s/ Bryan K. Mickler_________________
                                                              Attorney




docs\bankrupt\chap11\All Florida Safety\1116 notice
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                                                                              U.S. Return of Partnership Income                                                                                                             OMB No. 1545-0123
Form    1065                                            For calendar year 2021, or tax year beginning                  , 2021,
Department of the Treasury                                                  ending                  , 20         .                                                                                                            2021
Internal Revenue Service                                 G Go to www.irs.gov/Form1065 for instructions and the latest information.
A    Principal business activity                                                                                                                                                                                  D     Employer identification no.

EDUCATION                                                                                                                                                                                                         XX-XXXXXXX
B    Principal product or service
                                                  Type
                                                                  All Florida Safety Institute LLC                                                                                                                E     Date business started
                                                                  820 A1A N, Ste. W12
DRIVING SCHOOL                                     or
                                                                  Ponte Vedra Beach, FL 32082                                                                                                                         1/01/2016
                                                  Print
C    Business code number                                                                                                                                                                                         F     Total assets (see instructions)


611000                                                                                                                                                                                                            $                2,529,271.
G Check applicable boxes:                              (1)           Initial return          (2)          Final return            (3)           Name change             (4)           Address change                  (5)       Amended return
H Check accounting method: (1)              Cash         (2) X Accrual                         (3)            Other (specify) G
I Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year                                                        G                                                      4
J Check if Schedules C and M-3 are attached . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
K Check if partnership:         (1)    Aggregated activities for section 465 at-risk purposes (2)                                          Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22 below. See the instructions for more information.
              1 a Gross receipts or sales. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1a         8,329,884.
                b Returns and allowances. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1b               561,127.
                c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    1c               7,768,757.
              2      Cost of goods sold (attach Form 1125-A). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     2                   24,627.
    I         3      Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 3                7,744,130.
    N
    C         4      Ordinary income (loss) from other partnerships, estates, and trusts
    O                (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                4
    M
    E         5      Net farm profit (loss) (attach Schedule F (Form 1040)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               5
              6      Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          6
              7      Other income (loss)
                     (attach statement). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .See
                                                                                                                                                         . . . . . .Statement
                                                                                                                                                                     . . . . . . . . . . . . . . .1               7                  471,811.
              8      Total income (loss). Combine lines 3 through 7. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       8                   8,215,941.
        S
        E
              9 Salaries and wages (other than to partners) (less employment credits). . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                 9                   4,173,755.
        E    10 Guaranteed payments to partners. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                10
      I
      N
             11 Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         11                     152,210.
      S      12 Bad debts. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          12
      T
      R
    D S
             13 Rent. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     13                     689,093.
    E
    D F
             14 Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  14                     119,838.
    U O
    C R
             15 Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     15                     187,055.
    T        16 a Depreciation (if required, attach Form 4562). . . . . . . . . . . . . . . . . . . . . . . . . . . 16 a                                                           447,836.
    I L
    O I
                b Less depreciation reported on Form 1125-A and elsewhere on return. . . . 16 b                                                                                                               16c                    447,836.
    N M      17 Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            17
    S I
      T      18 Retirement plans, etc . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   18
      A
      T      19 Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           19                      81,231.
             20 Other deductions (att stmt) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . See     . . . . . . Statement
                                                                                                                                                                          . . . . . . . . . . . . . . . .2
      I
      O
      N
                                                                                                                                                                                                              20                   2,579,226.
      S      21      Total deductions. Add the amounts shown in the far right column for lines 9 through 20. . . . . . . . . . . . .                                                                          21                   8,430,244.
             22      Ordinary business income (loss). Subtract line 21 from line 8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   22                    -214,303.
    T        23      Interest due under the look-back method ' completed long-term contracts (attach Form 8697) . . . . . .
    A                                                                                                                                                                                                         23
    X        24      Interest due under the look-back method ' income forecast method (attach Form 8866) . . . . . . . . . . . .                                                                              24
    A        25      BBA AAR imputed underpayment (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             25
    N
    D        26      Other taxes (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     26
    P        27      Total balance due. Add lines 23 through 26 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   27
    A
    Y        28      Payment (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    28
    M        29      Amount owed. If line 28 is smaller than line 27, enter amount owed . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    E                                                                                                                                                                                                         29
    N        30      Overpayment. If line 28 is larger than line 27, enter overpayment. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    T                                                                                                                                                                                                         30
                         Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is
                         true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of which preparer has any
                         knowledge.
Sign                                                                                                                                                             May the IRS discuss this return
                                                                                                                                                                 with the preparer shown below?
Here
                         A    Signature of partner or limited liability company member                                                Date
                                                                                                                                                                  A
                                                                                                                                                                 See instructions.
                                                                                                                                                                                       Yes       No                                 X
                         Print/Type preparer's name                                           Preparer's signature                                           Date                                                           PTIN
                                                                                                                                                                                             Check           if

Paid                     Fredrick J Wainio Jr.          Fredrick J Wainio Jr.                                                                                                                            P00120169
                                                                                                                                                                                             self-employed

Preparer                 Firm's name    G NEVILLE WAINIO CPAS PLLC                                                                                                                     Firm's EIN G XX-XXXXXXX

Use Only                 Firm's address G 5 ARREDONDO AVE

                                          SAINT AUGUSTINE, FL 32080                                                                                                                    Phone no.             904-586-0048

BAA For Paperwork Reduction Act Notice, see separate instructions.                                                                                            PTPA0105 10/04/21                                                Form 1065 (2021)
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Form 1065 (2021) All                Florida Safety Institute LLC                                                                                                                                   XX-XXXXXXX                                Page 2
Schedule B                       Other Information
 1       What type of entity is filing this return? Check the applicable box:                                                                                                                                                            Yes   No
     a      Domestic general partnership                b     Domestic limited partnership
     c    X Domestic limited liability company                                        d        Domestic limited liability partnership
     e         Foreign partnership                                                    f        Other G
 2     At the end of the tax year:
     a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
       organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
       the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information on Partners
       Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                X
     b Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of the
       partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information on Partners
       Owning 50% or More of the Partnership . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         X
 3     At the end of the tax year, did the partnership:
     a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled
       to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes," complete (i)
       through (iv) below. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          X
                                           (i) Name of Corporation                                                                       (ii) Employer                             (iii) Country of                       (iv) Percentage
                                                                                                                                         Identification                             Incorporation                            Owned in
                                                                                                                                        Number (if any)                                                                     Voting Stock




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital
        in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a trust? For
        rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      X
                                           (i) Name of Entity                                                                   (ii) Employer                         (iii) Type of               (iv) Country of              (v) Maximum
                                                                                                                                Identification                            Entity                   Organization                 Percentage
                                                                                                                               Number (if any)                                                                                Owned in Profit,
                                                                                                                                                                                                                              Loss, or Capital




  4     Does the partnership satisfy all four of the following conditions?                                                                                                                                                               Yes   No
      a The partnership's total receipts for the tax year were less than $250,000.
      b The partnership's total assets at the end of the tax year were less than $1 million.
      c Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including extensions)
        for the partnership return.
      d The partnership is not filing and is not required to file Schedule M-3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    X
        If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065; or
        item L on Schedule K-1.
  5      Is this partnership a publicly traded partnership, as defined in section 469(k)(2)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              X
  6      During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified so as to
         reduce the principal amount of the debt?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              X
  7      Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide information on
         any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  X
  8      At any time during calendar year 2021, did the partnership have an interest in or a signature or other authority over
         a financial account in a foreign country (such as a bank account, securities account, or other financial account)? See
         instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial
         Accounts (FBAR). If "Yes," enter the name of the foreign country.     G                                                                                                                                                                X
  9      At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or transferor to, a
         foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report Transactions With Foreign
         Trusts and Receipt of Certain Foreign Gifts. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              X
 10 a Is the partnership making, or had it previously made (and not revoked), a section 754 election? . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                 X
      See instructions for details regarding a section 754 election.
    b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes," attach a
      statement showing the computation and allocation of the basis adjustment. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                               X
BAA                                                                                                           PTPA0112 10/04/21                                                                                             Form 1065 (2021)
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Form 1065 (2021)                All Florida Safety Institute LLC                                                                                                                        XX-XXXXXXX                                        Page 3
 Schedule B                     Other Information (continued)
                                                                                                                                                                                                                                    Yes     No
      c Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a substantial
        built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section 734(d))? If "Yes," attach
        a statement showing the computation and allocation of the basis adjustment. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           X
 11     Check this box if, during the current or prior tax year, the partnership distributed any property received in a like-kind
        exchange or contributed such property to another entity (other than disregarded entities wholly owned by the
        partnership throughout the tax year). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
 12     At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other undivided interest
        in partnership property?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           X
 13     If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign Disregarded
        Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached.
        See instructions G
 14     Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's Information
        Statement of Section 1446 Withholding Tax, filed for this partnership. G                                                                                                                                                            X
 15     Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
        to this return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
 16 a Did you make any payments in 2021 that would require you to file Form(s) 1099? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                 X
      b If "Yes," did you or will you file required Form(s) 1099?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 17     Enter the number of Forms 5471, Information Return of U.S. Persons With Respect To Certain Foreign Corporations,
        attached to this return. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
 18     Enter the number of partners that are foreign governments under section 892.G 0
 19     During the partnership's tax year, did the partnership make any payments that would require it to file Forms 1042 and 1042-S
        under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       X
 20     Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions for Form 8938.                                                                                                    X
 21     Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)? . . . . . . . . . . . . . . . . . . . . . . . . .                                                                             X
 22     During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are not allowed a
        deduction under section 267A? See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 X
        If "Yes," enter the total amount of the disallowed deductions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G $
 23     Did the partnership have an election under section 163(j) for any real property trade or business or any farming business in
        effect during the tax year? See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           X
 24     Does the partnership satisfy one or more of the following? See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        X
   a The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
   b The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
     preceding the current tax year are more than $26 million and the partnership has business interest.
   c The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
     If “Yes” to any, complete and attach Form 8990.
 25 Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                  X
     If "Yes," enter the amount from Form 8996, line 15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G$
 26     Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
        interest in the partnership or of receiving a distribution from the partnership . . . . . . . . . . . . . . . . . . G
        Complete Schedule K-3 (Form 1065), Part XIII, for each foreign partner subject to section 864(c)(8) on a transfer or distribution.
 27     At any time during the tax year, were there any transfers between the partnership and its partners subject to the
        disclosure requirements of Regulations section 1.707-8?. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        X
 28     Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties constituting a trade or business
        of your partnership, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than 50% (for example, the partn-
        ers held more than 50% of the stock of the foreign corporation)? If “Yes,” list the ownership percentage by vote and by value. See instructions.
      Percentage:                                                                                                  By Vote                                                           By Value                                               X
 29   Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions.                                                                                                                  X
      If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
      line 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
      If "No," complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.
Name of PR G Janette Allen

                             24469                Harbour View Dr
U.S. address of PR
                           A Ponte                Vedra, FL 32082
                                                                                                                                                               U.S. phone
                                                                                                                                                               number of PR              A      904-838-0055
If the PR is an entity, name of the designated individual for the PR                     G
                                                                                                                                                               U.S. phone
                                                                                                                                                               number of
U.S. address of
designated
individual
                          A                                                                                                                                    designated
                                                                                                                                                               individual          A
BAA                                                                                                                                                                                                                    Form 1065 (2021)
                                                                                                            PTPA0112 10/04/21
                                          Case 3:22-bk-01926-JAB                                                Doc 5                Filed 09/22/22                            Page 6 of 31
Form 1065 (2021)                All Florida Safety Institute LLC                                                                                                                            XX-XXXXXXX                      Page 4
Schedule K                      Partners' Distributive Share Items                                                                                                                                           Total amount
                   1 Ordinary business income (loss) (page 1, line 22). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        1              -214,303.
                   2 Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             2
                   3 a Other gross rental income (loss). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3a
                     b Expenses from other rental activities (attach stmt). . . . . . . . . . . . . . . . . . . . . . . . . . . . 3b
                     c Other net rental income (loss). Subtract line 3b from line 3a. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              3c
                   4 Guaranteed payments: a Services 4a                                                                     b Capital 4b

                     c Total. Add lines 4a and 4b. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 4c
Income             5 Interest income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          5
(Loss)             6     Dividends and dividend equivalents: a                Ordinary dividends. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    6a
                         b Qualified dividends          6b                                                      c Dividend equivalents              6c
                   7 Royalties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    7
                   8 Net short-term capital gain (loss) (attach Schedule D (Form 1065)). . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       8
                   9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     9a
                     b Collectibles (28%) gain (loss). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       9b
                     c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . .                       9c
                 10   Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     10
                 11   Other income (loss) (see instructions) Type G                                                                                                                                 11
                 12   Section 179 deduction (attach Form 4562). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 12
                 13 a Contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .See
                                                                                                                                                    . . . . . .Statement
                                                                                                                                                               . . . . . . . . . . . . . . .3
                                                                                                                                                                                            .        13a               16,107.
Deduc-
tions               b Investment interest expense. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     13b
                    c Section 59(e)(2) expenditures: (1) Type G                                                                                                    (2) Amount G                     13c(2)
                    d Other deductions (see instructions) Type G                                                                                                                                    13d
Self-            14 a Net earnings (loss) from self-employment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                14a             -171,443.
Employ-             b Gross farming or fishing income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       14b
ment
                    c Gross nonfarm income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                14c
                 15 a Low-income housing credit (section 42(j)(5)). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 15a
                    b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         15b
                    c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . . . . . . . . . . . . . . . . . . . . . . . . .                                15c
Credits
                    d Other rental real estate credits (see instructions) Type G                                                                                                                    15d
                    e Other rental credits (see instructions) . . . . . . . . . . . Type G                                                                                                          15e
                    f Other credits (see instructions) . . . . . . . . . . . . . . . . . Type G                                                                                                     15f
                 16      Attach Schedule K-2 (Form 1065), Partners’ Distributive Share Items-International, and check
International
Transactions             this box to indicate that you are reporting items of international tax relevance . . . . . . . . . .


            17 a Post-1986 depreciation adjustment. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               17a              -26,099.
               b Adjusted gain or loss. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 17b
Alternative    c Depletion (other than oil and gas). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            17c
Minimum
Tax (AMT)      d Oil, gas, and geothermal properties ' gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               17d
Items          e Oil, gas, and geothermal properties ' deductions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            17e
               f Other AMT items (attach stmt). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               17f
                 18 a Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    18a
                    b Other tax-exempt income. . . . . . .See    . . . . . .Statement
                                                                             . . . . . . . . . . . . . . .4.......................................                                                  18b              610,250.
                    c Nondeductible expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 18c
Other            19 a Distributions of cash and marketable securities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   19a                 6,709.
Infor-              b Distributions of other property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   19b
mation
                 20 a Investment income. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            20a
                    b Investment expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              20b
                    c Other items and amounts (attach stmt)                                                                                 See Statement 5
                 21      Total foreign taxes paid or accrued. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     21
BAA                                                                                                          PTPA0134         10/04/21                                                                           Form 1065 (2021)
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Form 1065 (2021)All Florida Safety Institute LLC                                                                                                                   XX-XXXXXXX                             Page 5
Analysis of Net Income (Loss)
 1     Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of
       Schedule K, lines 12 through 13d, and 21. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       1                 -230,410.
 2     Analysis by               (i) Corporate                      (ii) Individual            (iii) Individual               (iv) Partnership                      (v) Exempt               (vi) Nominee/Other
       partner type:                                                    (active)                  (passive)                                                        Organization
     a General
       partners. . . .
     b Limited
       partners. . . .                               -207,369.                                                                                                                                     -23,041.
Schedule L                     Balance Sheets per Books                                         Beginning of tax year                                                          End of tax year
                             Assets                                                          (a)                                (b)                                   (c)                          (d)
 1 Cash. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              185,456.                                                           263,719.
 2 a Trade notes and accounts receivable. . . . . . . .                                                                                                              216,355.
   b Less allowance for bad debts . . . . . . . . . . . . . . .                                                                                                                                    216,355.
 3 Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                     364,219.
 4 U.S. government obligations. . . . . . . . . . . . . . . .
 5 Tax-exempt securities. . . . . . . . . . . . . . . . . . . . . .
 6 Other current assets (attach stmt). . . . . See       . . . . . . St
                                                                     . . . . .6..                                                  70,702.                                                         189,896.
 7 a Loans to partners (or persons related to partners). . . . . .
   b Mortgage and real estate loans . . . . . . . . . . . . .
 8 Other investments (attach stmt) . . . . . . . . . . . . . . . . . . .
 9 a Buildings and other depreciable assets. . . . . .                                 2,268,490.                                                               2,973,572.
   b Less accumulated depreciation . . . . . . . . . . . . .                           1,033,154.                          1,235,336.                           1,480,990.                      1,492,582.
10 a Depletable assets. . . . . . . . . . . . . . . . . . . . . . . . . .
   b Less accumulated depletion . . . . . . . . . . . . . . . .
11 Land (net of any amortization). . . . . . . . . . . . . .
12 a Intangible assets (amortizable only). . . . . . . . .
   b Less accumulated amortization . . . . . . . . . . . . .
13 Other assets (attach stmt). . . . . .See                . . . . . .St
                                                                       . . . .7..                                                                                                                   2,500.
14 Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              1,491,494.                                                           2,529,271.
                Liabilities and Capital
15 Accounts payable. . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                              7,321.
16 Mortgages, notes, bonds payable in less than 1 year . . . .                                                                  154,163.                                                          175,268.
17 Other current liabilities (attach stmt). . . See      . . . . . . St
                                                                     . . . . .8..                                                20,638.                                                          184,350.
18 All nonrecourse loans . . . . . . . . . . . . . . . . . . . . . .                                                            849,349.                                                        1,322,620.
19 a Loans from partners (or persons related to partners). . . .
   b Mortgages, notes, bonds payable in 1 year or more . . . . .                                                                600,763.                                                           600,000.
20 Other liabilities (attach stmt) . . . . . . . . . . . . . . . . . . . . .
21 Partners' capital accounts . . . . . . . . . . . . . . . . . .       -133,419.                                                                                                                 239,712.
22 Total liabilities and capital. . . . . . . . . . . . . . . . . .    1,491,494.                                                                                                               2,529,271.
Schedule M-1 Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                 Note: The partnership may be required to file Schedule M-3. See instructions.
 1 Net income (loss) per books. . . . . . . . . . . . . 379,840. 6 Income recorded on books this year not
 2     Income included on Schedule K, lines 1,                                                                      included on Schedule K, lines 1 through
       2, 3c, 5, 6a, 7, 8, 9a, 10, and 11, not                                                                      11 (itemize):
       recorded on books this year (itemize):                                                                     a Tax-exempt interest. . . $
                                                                                                                     Statement 9                                     610,250.                      610,250.
                                                                                                              7     Deductions included on Schedule K, lines 1 through
 3     Guaranteed payments (other than health insurance). .                                                         13d, and 21, not charged against book income this
 4     Expenses recorded on books this year not included                                                            year (itemize):
       on Schedule K, lines 1 through 13d, and 21                                                                 a Depreciation . . . . . $
       (itemize):
     a Depreciation. . . . . . . $
     b Travel and
       entertainment. . . . . . $                                                                             8     Add lines 6 and 7. . . . . . . . . . . . . . . . . . . . . . . . .             610,250.
                                                                                                              9     Income (loss) (Analysis of Net Income (Loss), line 1).
 5 Add lines 1 through 4 . . . . . . . . . . . . . . . . . . .  379,840.                                            Subtract line 8 from line 5. . . . . . . . . . . . . . . . . . . . . .       -230,410.
Schedule M-2 Analysis of Partners' Capital Accounts
 1 Balance at beginning of year . . . . . . . . . . . .        -133,419.                                      6     Distributions:     a Cash . . . . . . . . . . . . . . . . . . . .                    6,709.
 2     Capital contributed: a Cash. . . . . . . . . . . . .                                                                            b Property . . . . . . . . . . . . . . . . .
                                  b Property. . . . . . . . . .                                               7     Other decreases (itemize):
 3     Net income (loss) (see instructions). . . . . .                                -230,410.
 4     Other increases (itemize):
        Statement 10                                                                   610,250.               8     Add lines 6 and 7. . . . . . . . . . . . . . . . . . . . . . . . .               6,709.
 5 Add lines 1 through 4 . . . . . . . . . . . . . . . . . . .                         246,421.               9     Balance at end of year. Subtract line 8 from line 5 . . . .                    239,712.
BAA                                                                                             PTPA0134      10/04/21                                                                        Form 1065 (2021)
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Form     1125-A                                                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                                                                               OMB No. 1545-0123
                                                                   G Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury
Internal Revenue Service                                          G Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                                                                                                             Employer identification number

All Florida Safety Institute LLC                                                                                                                                                                 XX-XXXXXXX
   1     Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   1
   2     Purchases. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   2                   92,511.
   3     Cost of labor. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   3
   4     Additional section 263A costs (attach schedule). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               4
   5     Other costs (attach schedule). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .See   . . . . . .Statement
                                                                                                                                                       . . . . . . . . . . . . . . .11
                                                                                                                                                                                     ......                   5              296,335.
   6     Total. Add lines 1 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 6              388,846.
   7     Inventory at end of year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              7              364,219.
   8   Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
       appropriate line of your tax return. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      8                   24,627.
   9 a Check all methods used for valuing closing inventory:
         (i)   Cost
        (ii) X Lower of cost or market
         (iii)     Other (Specify method used and attach explanation.) G
       b Check if there was a writedown of subnormal goods. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . G
       c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) . . . . . . . . . . . . . . . . . . . G
       d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
         under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9d
       e If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions. . . . . . .                                                                       Yes                  X No
  f Was there any change in determining quantities, cost, or valuations between opening and
    closing inventory? If "Yes," attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Yes X No
BAA For Paperwork Reduction Act Notice, see instructions.                                                                                                                   Form 1125-A (Rev. 11-2018)




                                                                                                                CPCZ0401L          09/26/18
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SCHEDULE B-1                                              Information on Partners Owning 50% or
(Form 1065)
(Rev. August 2019)
                                                                 More of the Partnership                                                                       OMB No. 1545-0123
Department of the Treasury
                                                                           G Attach to Form 1065.
Internal Revenue Service                                   G Go to www.irs.gov/Form1065 for the latest information.
Name of partnership                                                                                                                  Employer identification number (EIN)

All Florida Safety Institute LLC                                               XX-XXXXXXX
 Part I Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
        2009 through 2017))
Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a partnership),
trust, tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or
capital of the partnership (see instructions).
                                                                                                                                               (iv)                 (v) Maximum
                                    (i) Name of Entity                                 (ii) Employer        (iii) Type of Entity
                                                                                                                                     Country of Organization     Percentage Owned
                                                                                   Identification Number
                                                                                                                                                                   in Profit, Loss,
                                                                                           (if any)
                                                                                                                                                                      or Capital




  Part II        Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
                 (Question 3b for 2009 through 2017))
Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the profit,
loss, or capital of the partnership (see instructions).
                                                                                                                                                                  (iv) Maximum
                                                                                  (ii) Identifying Number
                             (i) Name of Individual or Estate                                               (iii) Country of Citizenship (see instructions)    Percentage Owned in
                                                                                           (if any)
                                                                                                                                                                   Profit, Loss,
                                                                                                                                                                     or Capital



Janette Allen                                                                    ***-**-**** United States                                                              80.000




BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                        Schedule B-1 (Form 1065) (Rev. 8-2019)




                                                                             PTPA1301L   07/18/19
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                                                                                                                                                                                      651121
Schedule K-1                                                                                                  Final K-1                     Amended K-1
(Form 1065)                                                                  2021                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                 OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service                                     For calendar year 2021, or tax year                   Deductions, Credits, and Other Items
     beginning                     /        / 2021     ending            /          /                     1     Ordinary business income (loss)        14   Self-employment earnings (loss)

Partner's Share of Income, Deductions, Credits, etc.                                                                                -171,443. A                                  -171,443.
G See separate instructions.                                                                              2     Net rental real estate income (loss)
  Part I Information About the Partnership
 A     Partnership's employer identification number                                                       3     Other net rental income (loss)         15   Credits
        XX-XXXXXXX
 B     Partnership's name, address, city, state, and ZIP code                                            4a     Guaranteed payments for services

                                                                                                         4b     Guaranteed payments for capital        16   Schedule K-3 is attached if
   All Florida Safety Institute LLC                                                                                                                         checked. . . . . . . . . . . . . . . G
   820 A1A N, Ste. W12
   Ponte Vedra Beach, FL 32082                                                                           4c     Total guaranteed payments              17   Alternative minimum tax (AMT) items
 C IRS center where partnership filed return G e-file                                                                                                   A                           -20,879.
                                                                                                          5     Interest income
 D            Check if this is a publicly traded partnership (PTP)

  Part II Information About the Partner                                                                  6a     Ordinary dividends
 E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
        ***-**-****                                                                                      6b     Qualified dividends                    18   Tax-exempt income and
                                                                                                                                                            nondeductible expenses
  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                         6c     Dividend equivalents                    B                           488,199.
    Janette Allen
    24469 Harbour View Dr                                                                                 7     Royalties
    Ponte Vedra, FL 32082
 G X General partner or LLC                                     Limited partner or other                  8     Net short-term capital gain (loss)
           member-manager                                       LLC member
                                                                                                                                                       19   Distributions
H1     X   Domestic partner                                     Foreign partner                          9a     Net long-term capital gain (loss)
H2         If the partner is a disregarded entity (DE), enter the partner's:
           TIN                                 Name                                                      9b     Collectibles (28%) gain (loss)
 I1    What type of entity is this partner?           Individual
 I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here . . . G                     9c     Unrecaptured section 1250 gain         20   Other information

 J     Partner's share of profit, loss, and capital (see instructions):                                                                                AG* STMT
                          Beginning                                 Ending                               10     Net section 1231 gain (loss)
       Profit                                   80 %                             80                  %                                                 N* STMT
       Loss                                     80 %                             80                  %   11     Other income (loss)
       Capital                                  80 %                             80                  %                                                 Z* STMT
       Check if decrease is due to sale or exchange of partnership interest. . . . . . G
 K     Partner's share of liabilities:
                        Beginning                                    Ending                              12     Section 179 deduction                  21   Foreign taxes paid or accrued
       Nonrecourse . . . . . .         $    1,299,931. $                      1,831,647.
       Qualified nonrecourse
       financing . . . . . . . .       $               $                                                 13     Other deductions
       Recourse . . . . . . . .        $               $                                                  A                             12,886.
       Check this box if Item K includes liability amounts from lower tier partnerships. . . . . G

  L                          Partner's Capital Account Analysis

       Beginning capital account. . . . . . . . . . . . . $                     -129,609.
       Capital contributed during the year . . . . . $                                                   22      More than one activity for at-risk purposes*
       Current year net income (loss) . . . . . . . . . $                       -184,329. 23  More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation). . . . $                   488,199. *See attached statement for additional information.
                                           See Attached
       Withdrawals and distributions. . . . . . . . . . . $(                                         )
       Ending capital account. . . . . . . . . . . . . . . . $                    174,261.
  M Did the partner contribute property with a built-in gain (loss)?
        Yes X No If "Yes," attach statement. See instructions.

  N      Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning. . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
    Ending. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065            Schedule K-1 (Form 1065) 2021
Partner 1                                                                                                                                                                     PTPA0312L      08/11/21
                                 Case 3:22-bk-01926-JAB                                      Doc 5             Filed 09/22/22                      Page 11 of 31
All Florida Safety Institute LLC XX-XXXXXXX
Schedule K-1 (Form 1065) 2021                                                        Supplemental Information                                                                   Page   2
    Item L
    Partner's Capital Account Analysis
    Other Increase (Decrease)


    Other Increase
    Tax-Exempt Interest and/or Tax-Exempt Other Income. . . . . . . . . . . . . . . . . . . . . . . . $                                                                  488,199.
                                                                                        Total $                                                                          488,199.




    Box 20, Code N
    Business Interest Expense
    Included as a Deduction on the Following Line(s)

    Below is deductible business interest expense for inclusion
    in the separate loss class for computing any basis limitation
    (defined in section 704(d), Regulation section 1.163(j)-6(h)).

    Schedule K-1, line 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   149,643.



    Box 20, Code AG
    Gross Receipts for Section 448(c)

    The following information is provided in order to figure the
    gross receipts test under Section 448(c).

    Gross         Receipts              for      Sec.        448(c):             Current Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       6,592,455.
    Gross         Receipts              for      Sec.        448(c):             1st Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           3,895,175.
    Gross         Receipts              for      Sec.        448(c):             2nd Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           2,511,441.
    Gross         Receipts              for      Sec.        448(c):             3rd Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           1,617,147.




***************************************
                                                                                            SPSL1201L       06/08/21
                         Case 3:22-bk-01926-JAB                    Doc 5        Filed 09/22/22        Page 12 of 31
Statement A—   —QBI Pass-through Entity Reporting (Schedule K-1, Box 20, Code Z)
Partnership's name: All Florida Safety Institute LLC                                   Partnership's EIN: XX-XXXXXXX
Partner's name:     Janette Allen                                          Partner's identifying number: ***-**-****



                                                  All Florida Safety
                                                  Institute LLC

                                                       PTP                             PTP                          PTP

                                                       Aggregated                      Aggregated                   Aggregated

                                                       SSTB                            SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)                              -171,443.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3,339,003.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             2,234,231.
Section 199A dividends




                                                       PTP                             PTP                          PTP

                                                       Aggregated                      Aggregated                   Aggregated

                                                       SSTB                            SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




Partner 1
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.              PTPA1515   06/09/21   Statement A (Form 1065) (2021)
                                           Case 3:22-bk-01926-JAB                             Doc 5            Filed 09/22/22                 Page 13 of 31
                                                                                                                                                                                       651121
Schedule K-1                                                                                                  Final K-1                     Amended K-1
(Form 1065)                                                                  2021                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                  OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service                                     For calendar year 2021, or tax year                   Deductions, Credits, and Other Items
     beginning                     /        / 2021     ending            /          /                     1     Ordinary business income (loss)         14   Self-employment earnings (loss)

Partner's Share of Income, Deductions, Credits, etc.                                                                                  -10,715.
G See separate instructions.                                                                              2     Net rental real estate income (loss)
  Part I Information About the Partnership
 A     Partnership's employer identification number                                                       3     Other net rental income (loss)          15   Credits
        XX-XXXXXXX
 B     Partnership's name, address, city, state, and ZIP code                                            4a     Guaranteed payments for services

                                                                                                         4b     Guaranteed payments for capital         16   Schedule K-3 is attached if
   All Florida Safety Institute LLC                                                                                                                          checked. . . . . . . . . . . . . . . G
   820 A1A N, Ste. W12
   Ponte Vedra Beach, FL 32082                                                                           4c     Total guaranteed payments               17   Alternative minimum tax (AMT) items
 C IRS center where partnership filed return G e-file                                                                                                    A                             -1,305.
                                                                                                          5     Interest income
 D            Check if this is a publicly traded partnership (PTP)

  Part II Information About the Partner                                                                  6a     Ordinary dividends
 E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
        ***-**-****                                                                                      6b     Qualified dividends                     18   Tax-exempt income and
                                                                                                                                                             nondeductible expenses
  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                         6c     Dividend equivalents                     B                             30,513.
   MARK & JANETTE ALLEN JT TENANTS
   BY THE ENTIRETY
   24469 Harbour View Dr                                                                                  7     Royalties
   Ponte Vedra, FL 32082
 G  General partner or LLC X Limited partner or other                                                     8     Net short-term capital gain (loss)
           member-manager                                       LLC member
                                                                                                                                                        19   Distributions
H1     X   Domestic partner                                     Foreign partner                          9a     Net long-term capital gain (loss)
H2         If the partner is a disregarded entity (DE), enter the partner's:                                                                             A                               6,709.
           TIN                                 Name                                                      9b     Collectibles (28%) gain (loss)
 I1    What type of entity is this partner?           Individual
 I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here . . . G                     9c     Unrecaptured section 1250 gain          20   Other information

 J     Partner's share of profit, loss, and capital (see instructions):                                                                                 AG* STMT
                          Beginning                                 Ending                               10     Net section 1231 gain (loss)
       Profit                                    5 %                               5                 %                                                  N* STMT
       Loss                                      5 %                               5                 %   11     Other income (loss)
       Capital                                   5 %                               5                 %                                                  Z* STMT
       Check if decrease is due to sale or exchange of partnership interest. . . . . . G
 K     Partner's share of liabilities:
                        Beginning                                    Ending                              12     Section 179 deduction                   21   Foreign taxes paid or accrued
       Nonrecourse . . . . . .         $        81,246. $                         114,478.
       Qualified nonrecourse
       financing . . . . . . . .       $                $                                                13     Other deductions
       Recourse . . . . . . . .        $                $                                                 A                                      805.
       Check this box if Item K includes liability amounts from lower tier partnerships. . . . . G

  L                          Partner's Capital Account Analysis

       Beginning capital account. . . . . . . . . . . . . $                     -124,632.
       Capital contributed during the year . . . . . $                                                   22      More than one activity for at-risk purposes*
       Current year net income (loss) . . . . . . . . . $                         -11,520. 23  More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation). . . . $                     30,513. *See attached statement for additional information.
                                           See Attached
       Withdrawals and distributions. . . . . . . . . . . $(                      6,709. )
       Ending capital account. . . . . . . . . . . . . . . . $                  -112,348.
  M Did the partner contribute property with a built-in gain (loss)?
        Yes X No If "Yes," attach statement. See instructions.

  N      Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning. . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
    Ending. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065             Schedule K-1 (Form 1065) 2021
Partner 3                                                                                                                                                                      PTPA0312L      08/11/21
                                 Case 3:22-bk-01926-JAB                                      Doc 5             Filed 09/22/22                      Page 14 of 31
All Florida Safety Institute LLC XX-XXXXXXX
Schedule K-1 (Form 1065) 2021                                                        Supplemental Information                                                                  Page   2
    Item L
    Partner's Capital Account Analysis
    Other Increase (Decrease)


    Other Increase
    Tax-Exempt Interest and/or Tax-Exempt Other Income. . . . . . . . . . . . . . . . . . . . . . . . $                                                                  30,513.
                                                                                        Total $                                                                          30,513.




    Box 20, Code N
    Business Interest Expense
    Included as a Deduction on the Following Line(s)

    Below is deductible business interest expense for inclusion
    in the separate loss class for computing any basis limitation
    (defined in section 704(d), Regulation section 1.163(j)-6(h)).

    Schedule K-1, line 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $    9,353.



    Box 20, Code AG
    Gross Receipts for Section 448(c)

    The following information is provided in order to figure the
    gross receipts test under Section 448(c).

    Gross         Receipts              for      Sec.        448(c):             Current Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        412,028.
    Gross         Receipts              for      Sec.        448(c):             1st Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            243,449.
    Gross         Receipts              for      Sec.        448(c):             2nd Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            156,965.
    Gross         Receipts              for      Sec.        448(c):             3rd Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            101,072.




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                                                                                            SPSL1201L       06/08/21
                        Case 3:22-bk-01926-JAB                    Doc 5       Filed 09/22/22        Page 15 of 31
Statement A—   —QBI Pass-through Entity Reporting (Schedule K-1, Box 20, Code Z)
Partnership's name: All Florida Safety Institute LLC                                   Partnership's EIN: XX-XXXXXXX
Partner's name:     MARK & JANETTE ALLEN JT TENANTS                        Partner's identifying number: ***-**-****



                                                All Florida Safety
                                                Institute LLC

                                                      PTP                            PTP                          PTP

                                                      Aggregated                     Aggregated                   Aggregated

                                                      SSTB                           SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)                             -10,715.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 208,688.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             139,640.
Section 199A dividends




                                                      PTP                            PTP                          PTP

                                                      Aggregated                     Aggregated                   Aggregated

                                                      SSTB                           SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




Partner 3
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.            PTPA1515   06/09/21   Statement A (Form 1065) (2021)
                                           Case 3:22-bk-01926-JAB                             Doc 5            Filed 09/22/22                 Page 16 of 31
                                                                                                                                                                                      651121
Schedule K-1                                                                                                  Final K-1                     Amended K-1
(Form 1065)                                                                  2021                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                 OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service                                     For calendar year 2021, or tax year                   Deductions, Credits, and Other Items
     beginning                     /        / 2021    ending             /          /                     1     Ordinary business income (loss)        14   Self-employment earnings (loss)

Partner's Share of Income, Deductions, Credits, etc.                                                                                  -21,430.
G See separate instructions.                                                                              2     Net rental real estate income (loss)
  Part I Information About the Partnership
 A     Partnership's employer identification number                                                       3     Other net rental income (loss)         15   Credits
        XX-XXXXXXX
 B     Partnership's name, address, city, state, and ZIP code                                            4a     Guaranteed payments for services

                                                                                                         4b     Guaranteed payments for capital        16   Schedule K-3 is attached if
   All Florida Safety Institute LLC                                                                                                                         checked. . . . . . . . . . . . . . . G
   820 A1A N, Ste. W12
   Ponte Vedra Beach, FL 32082                                                                           4c     Total guaranteed payments              17   Alternative minimum tax (AMT) items
 C IRS center where partnership filed return G e-file                                                                                                   A                             -2,610.
                                                                                                          5     Interest income
 D            Check if this is a publicly traded partnership (PTP)

  Part II Information About the Partner                                                                  6a     Ordinary dividends
 E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
        XX-XXXXXXX                                                                                       6b     Qualified dividends                    18   Tax-exempt income and
                                                                                                                                                            nondeductible expenses
  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                         6c     Dividend equivalents                    B                             61,025.
   Modern Approaches to Traffic Safety LLC
   941 SE Central Parkway                                                                                 7     Royalties
   Stuart, FL 34994
 G  General partner or LLC X Limited partner or other                                                     8     Net short-term capital gain (loss)
           member-manager                                      LLC member
                                                                                                                                                       19   Distributions
H1     X   Domestic partner                                    Foreign partner                           9a     Net long-term capital gain (loss)
H2     X If the partner is a disregarded entity (DE), enter the partner's:
         TIN ***-**-****                Name John L Bolen                                                9b     Collectibles (28%) gain (loss)
 I1    What type of entity is this partner? Individual
 I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here . . . G                     9c     Unrecaptured section 1250 gain         20   Other information

 J     Partner's share of profit, loss, and capital (see instructions):                                                                                AG* STMT
                          Beginning                                 Ending                               10     Net section 1231 gain (loss)
       Profit                                   10 %                             10                  %                                                 N* STMT
       Loss                                     10 %                             10                  %   11     Other income (loss)
       Capital                                  10 %                             10                  %                                                 Z* STMT
       Check if decrease is due to sale or exchange of partnership interest. . . . . . G
 K     Partner's share of liabilities:
                        Beginning                                    Ending                              12     Section 179 deduction                  21   Foreign taxes paid or accrued
       Nonrecourse . . . . . .         $       162,491. $                         228,956.
       Qualified nonrecourse
       financing . . . . . . . .       $                $                                                13     Other deductions
       Recourse . . . . . . . .        $                $                                                 A                               1,611.
       Check this box if Item K includes liability amounts from lower tier partnerships. . . . . G

  L                          Partner's Capital Account Analysis

       Beginning capital account. . . . . . . . . . . . . $                       128,369.
       Capital contributed during the year . . . . . $                                                   22      More than one activity for at-risk purposes*
       Current year net income (loss) . . . . . . . . . $                         -23,041. 23  More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation). . . . $                     61,025. *See attached statement for additional information.
                                           See Attached
       Withdrawals and distributions. . . . . . . . . . . $(                                         )
       Ending capital account. . . . . . . . . . . . . . . . $                    166,353.
  M Did the partner contribute property with a built-in gain (loss)?
        Yes X No If "Yes," attach statement. See instructions.

  N      Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning. . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
    Ending. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065            Schedule K-1 (Form 1065) 2021
Partner 4                                                                                                                                                                     PTPA0312L      08/11/21
                                 Case 3:22-bk-01926-JAB                                      Doc 5             Filed 09/22/22                      Page 17 of 31
All Florida Safety Institute LLC XX-XXXXXXX
Schedule K-1 (Form 1065) 2021                                                        Supplemental Information                                                                  Page   2
    Item L
    Partner's Capital Account Analysis
    Other Increase (Decrease)


    Other Increase
    Tax-Exempt Interest and/or Tax-Exempt Other Income. . . . . . . . . . . . . . . . . . . . . . . . $                                                                  61,025.
                                                                                        Total $                                                                          61,025.




    Box 20, Code N
    Business Interest Expense
    Included as a Deduction on the Following Line(s)

    Below is deductible business interest expense for inclusion
    in the separate loss class for computing any basis limitation
    (defined in section 704(d), Regulation section 1.163(j)-6(h)).

    Schedule K-1, line 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   18,706.



    Box 20, Code AG
    Gross Receipts for Section 448(c)

    The following information is provided in order to figure the
    gross receipts test under Section 448(c).

    Gross         Receipts              for      Sec.        448(c):             Current Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        824,057.
    Gross         Receipts              for      Sec.        448(c):             1st Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            486,897.
    Gross         Receipts              for      Sec.        448(c):             2nd Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            313,930.
    Gross         Receipts              for      Sec.        448(c):             3rd Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            202,144.




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                                                                                            SPSL1201L       06/08/21
                        Case 3:22-bk-01926-JAB                    Doc 5       Filed 09/22/22        Page 18 of 31
Statement A—   —QBI Pass-through Entity Reporting (Schedule K-1, Box 20, Code Z)
Partnership's name: All Florida Safety Institute LLC                                   Partnership's EIN: XX-XXXXXXX
Partner's name:     Modern Approaches to Traffic Safety LLC                Partner's identifying number: XX-XXXXXXX



                                                All Florida Safety
                                                Institute LLC

                                                      PTP                            PTP                          PTP

                                                      Aggregated                     Aggregated                   Aggregated

                                                      SSTB                           SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)                             -21,430.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 417,376.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             279,279.
Section 199A dividends




                                                      PTP                            PTP                          PTP

                                                      Aggregated                     Aggregated                   Aggregated

                                                      SSTB                           SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




Partner 4
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.            PTPA1515   06/09/21   Statement A (Form 1065) (2021)
                                           Case 3:22-bk-01926-JAB                             Doc 5            Filed 09/22/22                 Page 19 of 31
                                                                                                                                                                                       651121
Schedule K-1                                                                                                  Final K-1                     Amended K-1
(Form 1065)                                                                  2021                         Part III Partner's Share of Current Year Income,
                                                                                                                                                                                  OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service                                     For calendar year 2021, or tax year                   Deductions, Credits, and Other Items
     beginning                     /        / 2021     ending            /          /                     1     Ordinary business income (loss)         14   Self-employment earnings (loss)

Partner's Share of Income, Deductions, Credits, etc.                                                                                  -10,715.
G See separate instructions.                                                                              2     Net rental real estate income (loss)
  Part I Information About the Partnership
 A     Partnership's employer identification number                                                       3     Other net rental income (loss)          15   Credits
        XX-XXXXXXX
 B     Partnership's name, address, city, state, and ZIP code                                            4a     Guaranteed payments for services

                                                                                                         4b     Guaranteed payments for capital         16   Schedule K-3 is attached if
   All Florida Safety Institute LLC                                                                                                                          checked. . . . . . . . . . . . . . . G
   820 A1A N, Ste. W12
   Ponte Vedra Beach, FL 32082                                                                           4c     Total guaranteed payments               17   Alternative minimum tax (AMT) items
 C IRS center where partnership filed return G e-file                                                                                                    A                             -1,305.
                                                                                                          5     Interest income
 D            Check if this is a publicly traded partnership (PTP)

  Part II Information About the Partner                                                                  6a     Ordinary dividends
 E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
        ***-**-****                                                                                      6b     Qualified dividends                     18   Tax-exempt income and
                                                                                                                                                             nondeductible expenses
  F    Name, address, city, state, and ZIP code for partner entered in E. See instructions.
                                                                                                         6c     Dividend equivalents                     B                             30,513.
   Paul Trippy
   7117 S W Archer Rd, #89                                                                                7     Royalties
   Gainesville, FL 32608
 G  General partner or LLC X Limited partner or other                                                     8     Net short-term capital gain (loss)
           member-manager                                       LLC member
                                                                                                                                                        19   Distributions
H1     X   Domestic partner                                     Foreign partner                          9a     Net long-term capital gain (loss)
H2         If the partner is a disregarded entity (DE), enter the partner's:
           TIN                                 Name                                                      9b     Collectibles (28%) gain (loss)
 I1    What type of entity is this partner?           Individual
 I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here . . . G                     9c     Unrecaptured section 1250 gain          20   Other information

 J     Partner's share of profit, loss, and capital (see instructions):                                                                                 AG* STMT
                          Beginning                                 Ending                               10     Net section 1231 gain (loss)
       Profit                                    5 %                               5                 %                                                  N* STMT
       Loss                                      5 %                               5                 %   11     Other income (loss)
       Capital                                   5 %                               5                 %                                                  Z* STMT
       Check if decrease is due to sale or exchange of partnership interest. . . . . . G
 K     Partner's share of liabilities:
                        Beginning                                    Ending                              12     Section 179 deduction                   21   Foreign taxes paid or accrued
       Nonrecourse . . . . . .         $        81,246. $                         114,478.
       Qualified nonrecourse
       financing . . . . . . . .       $                $                                                13     Other deductions
       Recourse . . . . . . . .        $                $                                                 A                                      805.
       Check this box if Item K includes liability amounts from lower tier partnerships. . . . . G

  L                          Partner's Capital Account Analysis

       Beginning capital account. . . . . . . . . . . . . $                             -7,547.
       Capital contributed during the year . . . . . $                                                   22      More than one activity for at-risk purposes*
       Current year net income (loss) . . . . . . . . . $                         -11,520. 23  More than one activity for passive activity purposes*
       Other increase (decrease) (attach explanation). . . . $                     30,513. *See attached statement for additional information.
                                           See Attached
       Withdrawals and distributions. . . . . . . . . . . $(                                         )
       Ending capital account. . . . . . . . . . . . . . . . $                          11,446.
  M Did the partner contribute property with a built-in gain (loss)?
        Yes X No If "Yes," attach statement. See instructions.

  N      Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning. . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
    Ending. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                 www.irs.gov/Form1065             Schedule K-1 (Form 1065) 2021
Partner 5                                                                                                                                                                      PTPA0312L      08/11/21
                                 Case 3:22-bk-01926-JAB                                      Doc 5             Filed 09/22/22                      Page 20 of 31
All Florida Safety Institute LLC XX-XXXXXXX
Schedule K-1 (Form 1065) 2021                                                        Supplemental Information                                                                  Page   2
    Item L
    Partner's Capital Account Analysis
    Other Increase (Decrease)


    Other Increase
    Tax-Exempt Interest and/or Tax-Exempt Other Income. . . . . . . . . . . . . . . . . . . . . . . . $                                                                  30,513.
                                                                                        Total $                                                                          30,513.




    Box 20, Code N
    Business Interest Expense
    Included as a Deduction on the Following Line(s)

    Below is deductible business interest expense for inclusion
    in the separate loss class for computing any basis limitation
    (defined in section 704(d), Regulation section 1.163(j)-6(h)).

    Schedule K-1, line 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $    9,353.



    Box 20, Code AG
    Gross Receipts for Section 448(c)

    The following information is provided in order to figure the
    gross receipts test under Section 448(c).

    Gross         Receipts              for      Sec.        448(c):             Current Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        412,028.
    Gross         Receipts              for      Sec.        448(c):             1st Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            243,449.
    Gross         Receipts              for      Sec.        448(c):             2nd Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            156,965.
    Gross         Receipts              for      Sec.        448(c):             3rd Prior Tax Year. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            101,072.




*************************************
                                                                                            SPSL1201L       06/08/21
                        Case 3:22-bk-01926-JAB                    Doc 5       Filed 09/22/22        Page 21 of 31
Statement A—   —QBI Pass-through Entity Reporting (Schedule K-1, Box 20, Code Z)
Partnership's name: All Florida Safety Institute LLC                                   Partnership's EIN: XX-XXXXXXX
Partner's name:     Paul Trippy                                            Partner's identifying number: ***-**-****



                                                All Florida Safety
                                                Institute LLC

                                                      PTP                            PTP                          PTP

                                                      Aggregated                     Aggregated                   Aggregated

                                                      SSTB                           SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)                             -10,715.
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 208,688.
UBIA of qualified property. . . . . . . . . . . . . . . . . .             139,640.
Section 199A dividends




                                                      PTP                            PTP                          PTP

                                                      Aggregated                     Aggregated                   Aggregated

                                                      SSTB                           SSTB                         SSTB
Partner's share of:
QBI or qualified PTP items subject to partner-specific determinations:
              Ordinary business income (loss)
              Rental income (loss) . . . . . . . . . .
              Royalty income (loss) . . . . . . . . .
              Section 1231 gain (loss). . . . . . .
              Other income (loss) . . . . . . . . . . .
              Section 179 deduction. . . . . . . . .
              Other deductions. . . . . . . . . . . . . .
W-2 wages . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
UBIA of qualified property. . . . . . . . . . . . . . . . . .




Partner 5
BAA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.            PTPA1515   06/09/21   Statement A (Form 1065) (2021)
                                       Case 3:22-bk-01926-JAB                                           Doc 5               Filed 09/22/22                         Page 22 of 31
                                                                                                                                                                                                           OMB No. 1545-0172
                                                                                Depreciation and Amortization
Form     4562                                                             (Including Information on Listed Property)
                                                                            G Attach to your tax return.                                                                                                      2021
Department of the Treasury                                                                                                                                                                                 Attachment
Internal Revenue Service          (99)                 G Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                           Sequence No.    179
Name(s) shown on return                                                                                                                                                                              Identifying number

All Florida Safety Institute LLC                                                                                                                                                                     XX-XXXXXXX
Business or activity to which this form relates

Form 1065
Part I Election To Expense Certain Property Under Section 179
                   Note: If you have any listed property, complete Part V before you complete Part I.
   1    Maximum amount (see instructions). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    1          1,050,000.
   2    Total cost of section 179 property placed in service (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             2
   3    Threshold cost of section 179 property before reduction in limitation (see instructions). . . . . . . . . . . . . . . . . . . . . .                                                           3          2,620,000.
   4    Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0-. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               4
   5    Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
        separately, see instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         5
   6                              (a) Description of property                                                        (b) Cost (business use only)                        (c) Elected cost



  7 Listed property. Enter the amount from line 29. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7. . . . . . . . . . . . . . . . . . . . . . .                                                             8
  9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  9
 10 Carryover of disallowed deduction from line 13 of your 2020 Form 4562. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 10
 11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instrs . .                                                                              11
 12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11. . . . . . . . . . . . . . . . . . . . . .                                                              12
 13 Carryover of disallowed deduction to 2022. Add lines 9 and 10, less line 12. . . . . . . . G 13
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
Part II            Special Depreciation Allowance and Other Depreciation (Don't include listed property. See instructions.)
 14 Special depreciation allowance for qualified property (other than listed property) placed in service during the
    tax year. See instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      14
 15 Property subject to section 168(f)(1) election. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      15
 16 Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  16                       15,065.
Part III           MACRS Depreciation (Don't include listed property. See instructions.)
                                                                                                             Section A
 17     MACRS deductions for assets placed in service in tax years beginning before 2021. . . . . . . . . . . . . . . . . . . . . . . . .                                                        17                  314,775.
 18     If you are electing to group any assets placed in service during the tax year into one or more general
        asset accounts, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   G
                                  Section B ' Assets Placed in Service During 2021 Tax Year Using the General Depreciation System
                       (a)                     (b) Month and  (c) Basis for depreciation (d)           (e)            (f)                                                                                      (g) Depreciation
          Classification of property                       year placed              (business/investment use               Recovery period             Convention                  Method                         deduction
                                                            in service              only ' see instructions)

 19 a 3-year property . . . . . . . . . .
    b 5-year property . . . . . . . . . .                                                        556,712.                                 5                 HY                   200DB                               111,342.
    c 7-year property . . . . . . . . . .                                                         37,428.                                 7                 HY                   200DB                                 5,348.
    d 10-year property . . . . . . . . .
    e 15-year property . . . . . . . . .
    f 20-year property . . . . . . . . .
    g 25-year property . . . . . . . . .                                                                   25 yrs                                                                  S/L
    h Residential rental                                                                                  27.5 yrs                                         MM                      S/L
         property. . . . . . . . . . . . . . . . .                                                        27.5 yrs                                         MM                      S/L
       i Nonresidential real                       7/01/21                                       110,942.  39 yrs                                          MM                      S/L                                     1,306.
         property. . . . . . . . . . . . . . . . .                                                                                                         MM                      S/L
                             Section C ' Assets Placed in Service During 2021 Tax Year Using the Alternative Depreciation System
 20 a Class life. . . . . . . . . . . . . . . .                                                                                                                                    S/L
    b 12-year. . . . . . . . . . . . . . . . . .                                                                             12 yrs                                                S/L
    c 30-year. . . . . . . . . . . . . . . . . .                                                                             30 yrs                         MM                     S/L
    d 40-year. . . . . . . . . . . . . . . . . .                                                                             40 yrs                         MM                     S/L
Part IV     Summary (See instructions.)
 21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        21
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter here and on
    the appropriate lines of your return. Partnerships and S corporations ' see instructions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           22                   447,836.
 23 For assets shown above and placed in service during the current year, enter
    the portion of the basis attributable to section 263A costs. . . . . . . . . . . . . . . . . . . . . . . . 23
BAA For Paperwork Reduction Act Notice, see separate instructions.                                                 FDIZ0812L 07/12/21                                                                          Form 4562 (2021)
                                  Case 3:22-bk-01926-JAB                                              Doc 5                Filed 09/22/22                            Page 23 of 31


2021                                                                                   Federal Statements                                                                                                       Page 1
                                                                                    All Florida Safety Institute LLC                                                                                          XX-XXXXXXX


 Statement 1
 Form 1065, Line 7
 Other Income (Loss)

 ALL FL AUTO EXCHANGE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                   97,033.
 COMMISSION INCOME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               24,396.
 OTHER INCOME. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    257,000.
 OTHER INCOME. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     93,382.
                                                                                                                                                                             Total $                          471,811.



 Statement 2
 Form 1065, Line 20
 Other Deductions

 Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                477,043.
 ALL FL AUTO EXCH OPER EXPENSE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       37,227.
 Auto and Truck Expense. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        536,107.
 Bank Charges. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      5,971.
 COMPUTER/TECHNOLOGY . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  182,994.
 Dues and Subscriptions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         19,672.
 instructors . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   87,463.
 Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              414,429.
 Legal and Professional. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         76,418.
 Meals. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       5,273.
 MERCHANT FEES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      112,401.
 Office Expense. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        105,569.
 Other Expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         62,882.
 payroll fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     16,275.
 Postage. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           1,731.
 RECRUITING. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 25,595.
 REIMBURSED EXPENSES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   72,291.
 Security. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              2,441.
 SQUARE C. CARD FEES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    4,365.
 STAFFING. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             34,911.
 STORAGE. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           6,366.
 sunpass. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          29,041.
 Telephone . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               21,096.
 TESTING FEES. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     62,553.
 TRAINING & LICENSING. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     66,440.
 Travel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         82,204.
 Utilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               30,468.
                                                                                                                                                                                            Total $         2,579,226.



 Statement 3
 Form 1065, Schedule K, Line 13a
 Charitable Contributions

 Cash Contributions - 60% Limitation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                                                 16,107.
                                                                                                                               Total $                                                                         16,107.
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2021                                                                                  Federal Statements                                                                                     Page 2
                                                                                   All Florida Safety Institute LLC                                                                         XX-XXXXXXX


 Statement 4
 Rev. Proc. 2021-48 Information
 Forgiveness of Paycheck Protection Program Loans

 All Florida Safety Institute LLC
 XX-XXXXXXX
 820 A1A N, Ste. W12
 Ponte Vedra Beach, FL 32082

 Applying section 3.01(3) of Rev. Proc. 2021-48 for taxable year 2020.
 Tax-exempt income from PPP forgiveness treated as received/accrued: $105,900.
 Forgiveness of the PPP loan has been granted as of the date the return is filed.

 Applying section 3.01(3) of Rev. Proc. 2021-48 for taxable year 2021.
 Tax-exempt income from PPP forgiveness treated as received/accrued: $610,250.
 Forgiveness of the PPP loan has been granted as of the date the return is filed.



 Statement 5
 Form 1065, Schedule K, Line 20c
 Other Reportable Items

 Gross           Receipts                 for        Sec.          448(c):               Current Tax Year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $   8,240,568.
 Gross           Receipts                 for        Sec.          448(c):               1st Prior Tax Year . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    4,868,970.
 Gross           Receipts                 for        Sec.          448(c):               2nd Prior Tax Year . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    3,139,301.
 Gross           Receipts                 for        Sec.          448(c):               3rd Prior Tax Year . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    2,021,435.

 Business Interest Expense (Informational Only for Basis Limitations)
 Included as a Deduction on the Following Lines(s)

 Schedule K, line 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         187,055.



 Statement 6
 Form 1065, Schedule L, Line 6
 Other Current Assets

                                                                                                                                                                  Beginning              Ending
 DEPOSITS/ESCROW . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                        14,702. $             19,496.
 DIGITAL TECHNOLOGY. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     0.              140,700.
 DISCOUNT RECEIVABLE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  56,000.                    0.
 DUE FROM MY TICKET. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     0.               25,500.
 DUE FROM MY TICKET ALL FL AUTO EXCH . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       0.                4,200.
                                                                                                                           Total $                                    70,702. $            189,896.



 Statement 7
 Form 1065, Schedule L, Line 13
 Other Assets

                                                                                                                                                                  Beginning              Ending
 DEPOSIT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               0. $           2,500.
                                                                                                                                            Total $                           0. $           2,500.
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2021                                                                    Federal Statements                                                                               Page 3
                                                                     All Florida Safety Institute LLC                                                                  XX-XXXXXXX


 Statement 8
 Form 1065, Schedule L, Line 17
 Other Current Liabilities

                                                                                                                                       Beginning                     Ending
 ALL FL AUTO PPP LOAN. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $              0. $                170,000.
 DUE TO CR. CARD CO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         20,638.                        0.
 DUE TO FL SAFETY COUNCIL. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        0.                   14,350.
                                                                                                                   Total $                   20,638. $                184,350.



 Statement 9
 Form 1065, Schedule M-1, Line 6
 Income on Books Not on Schedule K

 Paycheck Protection Program Loan Forgiven. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                     610,250.
                                                                                                                  Total $                                             610,250.



 Statement 10
 Form 1065, Schedule M-2, Line 4
 Other Increases

 Tax-Exempt Interest and/or Tax-Exempt Other Income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                                                       610,250.
                                                                                                Total $                                                               610,250.



 Statement 11
 Form 1125-A, Line 5
 Other Costs

 ALL FL AUTO EXCHANGE COGS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $    296,335.
                                                                                                                                                   Total $            296,335.
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2021                                     General Elections                                 Page 1
                                      All Florida Safety Institute LLC                    XX-XXXXXXX


 Election to Not Claim Additional Depreciation

 Pursuant to IRC Section 168(k)(7), the Taxpayer hereby elects to not claim the
 additional depreciation deduction for the following classes of property in the
 tax year ended 12/31/21.

 All Eligible Classes Of Property
 All Eligible Classes Of Property



 Section 1.263(a)-1(f) De Minimis Safe Harbor Election

 The Taxpayer hereby makes the de minimis safe harbor election under Regulation
 1.263(a)-1(f).

 All Florida Safety Institute LLC
 820 A1A N, Ste. W12
 Ponte Vedra Beach, FL 32082
 ******5550
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                                          All Florida Safety Institute, LLC
                                                             Balance Sheet
                                                         As of August 31, 2022


                                                                                                                      TOTAL
ASSETS
 Current Assets
 Bank Accounts                                                                                                   $723,389.01
 Accounts Receivable
  Accounts Receivable (A/R)                                                                                       752,836.43
 Total Accounts Receivable                                                                                       $752,836.43
 Other Current Assets
  Digital Technology                                                                                              140,700.00
  Due From Auto Exchange LLC (8589)                                                                               367,681.12
  Due From Florida Safety Council                                                                                  -17,350.00
  Due From My Ticket TX (6046)                                                                                    130,500.00
  Inventory Asset                                                                                                 142,511.19
  Security Deposit / Escrow                                                                                        19,495.97
 Total Other Current Assets                                                                                      $783,538.28
 Total Current Assets                                                                                           $2,259,763.72
 Fixed Assets
 Accumulated Depreciation                                                                                       -1,033,154.00
 Auto Technology (Inventory)                                                                                       47,087.62
  Idea Drive (Brake Devices)                                                                                       79,649.89
  Testing Tablets                                                                                                 132,205.50
 Total Auto Technology (Inventory)                                                                                258,943.01
 Automobile Inventory                                                                                            3,686,083.79
 Computer Equipment                                                                                               266,323.87
  Technology Investment                                                                                            24,439.69
 Total Computer Equipment                                                                                         290,763.56
 Furniture & Equipment                                                                                            109,003.56
 Leasehold Improvements                                                                                           168,220.85
 Other - Furniture & Fixtures                                                                                     164,258.49
  Identity Services Equipment                                                                                      75,824.68
 Total Other - Furniture & Fixtures                                                                               240,083.17
 Total Fixed Assets                                                                                             $3,719,943.94
TOTAL ASSETS                                                                                                    $5,979,707.66




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                                        All Florida Safety Institute, LLC
                                                           Balance Sheet
                                                       As of August 31, 2022


                                                                                                                   TOTAL
LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   Accounts Payable (A/P)                                                                                       27,154.60
  Total Accounts Payable                                                                                       $27,154.60
  Credit Cards
   1st Bankcard Center 5220                                                                                     -26,582.28
   1st National Bank of Omaha (BC016)                                                                            -1,307.93
   Chase Credit Card 0942                                                                                       -10,990.92
   Credit Card 7530                                                                                                -804.98
   Credit Card 9551                                                                                                  0.00
   Credit One Bank 3639                                                                                          -6,857.86
   Discover Card 0037                                                                                           -10,173.03
   First Bankcard - 6493                                                                                          7,908.02
   First Bankcard - 7538                                                                                             0.00
   Genesis FS Card (69545)-1-1                                                                                       0.00
   Visa 0845                                                                                                     -5,498.06
  Total Credit Cards                                                                                          $ -54,307.04
  Other Current Liabilities
   Headway Capital (LOC)                                                                                        24,899.97
   IPS Integrated Payment (AXE) (LOC)                                                                           90,625.00
   Loan Payable                                                                                                      0.00
   Payroll Tax Payable                                                                                               0.00
  Total Other Current Liabilities                                                                             $115,524.97
 Total Current Liabilities                                                                                     $88,372.53
 Long-Term Liabilities
  Auto Loans
   - JP Morgan Chase Auto Loan                                                                                   -5,739.66
   Ally Auto Loans                                                                                              67,125.35
   CCB Auto Loans Payable                                                                                       20,494.86
   Enterprise Fleet Vehicles                                                                                   -224,995.48
   Ford Credit Loans                                                                                          1,177,768.33
   Suntrust Auto Loan Payable                                                                                   23,161.36




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                                        All Florida Safety Institute, LLC
                                                          Balance Sheet
                                                      As of August 31, 2022


                                                                                                                   TOTAL
  Total Auto Loans                                                                                            1,057,814.76
  Business Loans Payable                                                                                              0.00
   Affirm Loan                                                                                                        0.00
   Consolidated Loan                                                                                           894,430.60
   Dell Business Credit Loan                                                                                      6,603.24
   Delta Bridge Loan                                                                                                  0.00
   NewCo                                                                                                              0.00
   Samson Horus Funding                                                                                               0.00
  Total Business Loans Payable                                                                                 901,033.84
  SBA Bridge Loan Payable
   SBA EDIL Disaster Loan # 7194987408 (05/16/20)                                                             2,000,000.00
   SBA EDIL Emergency Bridge Loan 04/02/2020                                                                   100,000.00
  Total SBA Bridge Loan Payable                                                                               2,100,000.00
 Total Long-Term Liabilities                                                                                 $4,058,848.60
 Total Liabilities                                                                                           $4,147,221.13
 Equity
 Distributions - Janette & Mark Allen TBE                                                                        -8,709.49
 Opening Balance Equity                                                                                               0.00
 Partner Contributions - Jeanette & Mark Allen TBE                                                             131,411.30
 Retained Earnings                                                                                             427,666.90
 Net Income                                                                                                   1,282,117.82
 Total Equity                                                                                                $1,832,486.53
TOTAL LIABILITIES AND EQUITY                                                                                 $5,979,707.66




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                                      All Florida Safety Institute, LLC
                                                         Profit and Loss
                                                     January - August, 2022


                                                                                                                  TOTAL
Income
 - DSS Sales                                                                                                 5,656,004.42
  - Sales Driver's Ed Program                                                                                 566,269.43
  - Sales Other                                                                                                36,532.34
  - Sales Square                                                                                              131,060.00
 Total - DSS Sales                                                                                           6,389,866.19
 DSS Expenses
  DSS - Refunds / Credits                                                                                     259,161.97
  Merchant Fees - DSS                                                                                          -37,400.25
  Square Refunds                                                                                                   -68.42
 Total DSS Expenses                                                                                           221,693.30
 Sales Idemia Commission                                                                                       10,417.00
 Sales of Product Income                                                                                         9,000.00
 Sales Print Scan                                                                                                 430.00
 Uncategorized Income                                                                                         104,746.10
Total Income                                                                                                $6,736,152.59
Cost of Goods Sold
 Automobile - Insurance                                                                                       277,539.95
 Automobile - Charging Fees (Tesla)                                                                                58.95
 Automobile - Fuel                                                                                            372,511.91
 Automobile - Leases                                                                                           48,029.83
 Automobile - Repairs & Maintenance                                                                            49,236.86
 Contractors [Instructors]                                                                                   1,298,294.00
 Cost of Goods Sold                                                                                              9,670.00
 Direct Payroll - COS                                                                                        1,157,484.09
 Merchant Fees                                                                                                 20,920.76
 Square - Fees                                                                                                    420.00
 Sunpass                                                                                                       23,863.19
 Testing Fees                                                                                                    7,220.00
Total Cost of Goods Sold                                                                                    $3,265,249.54
GROSS PROFIT                                                                                                $3,470,903.05
Expenses
 Automobile Expenses                                                                                             6,006.97
 Bank Charges & Fees                                                                                           63,213.61
  Interest Paid                                                                                                  5,563.88
  Loan Fees                                                                                                    -49,292.58
 Total Bank Charges & Fees                                                                                     19,484.91
 Credit Card Membership Fees                                                                                     1,392.96




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                                         All Florida Safety Institute, LLC
                                                           Profit and Loss
                                                       January - August, 2022


                                                                                                                    TOTAL
 General Administrative Expenses                                                                                     30.00
  Advertising & Marketing                                                                                       307,803.24
  Charitable Contributions                                                                                         3,865.00
  Dues & subscriptions                                                                                             6,757.81
  Insurance - Overhead                                                                                           56,685.49
  General Liability                                                                                              11,045.79
  Health Insurance                                                                                              104,421.59
  Workers Comp                                                                                                     6,937.30
  Total Insurance - Overhead                                                                                    179,090.17
  Legal & Professional Services                                                                                 101,486.59
  Meals & Entertainment                                                                                             686.94
  Office Supplies                                                                                                10,776.75
  Other Business Expenses                                                                                        10,065.77
  Postage & Shipping                                                                                                617.16
  Storage                                                                                                          9,928.39
  Taxes & Licenses                                                                                               11,008.34
  Technology, Computer & Internet                                                                               206,809.31
  Telephone                                                                                                      59,406.06
  Training & Licensing                                                                                          104,778.49
  Travel                                                                                                         15,972.00
 Total General Administrative Expenses                                                                         1,029,082.02
 Office/Utilities Expenses                                                                                         8,464.01
  Office Rent & Lease                                                                                           384,303.02
  Late Fee                                                                                                          716.47
  Total Office Rent & Lease                                                                                     385,019.49
  Office Repairs & Maintenance                                                                                   34,088.89
  Office Security                                                                                                   916.49
  Utilities                                                                                                      30,871.43
 Total Office/Utilities Expenses                                                                                459,360.31
 Payroll Expense                                                                                                    450.00
  Payroll Expense - Overhead                                                                                    504,747.34
  Payroll Fees                                                                                                   33,229.99
  Payroll Tax Expenses                                                                                           80,646.76
  Recruiting Expense                                                                                             12,465.77
  Staffing Expense                                                                                               18,774.19
 Total Payroll Expense                                                                                          650,314.05
 Reimbursable Expenses                                                                                             8,769.01
 Uncategorized Expense                                                                                           14,375.00
Total Expenses                                                                                                $2,188,785.23
NET OPERATING INCOME                                                                                          $1,282,117.82
NET INCOME                                                                                                    $1,282,117.82




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